        Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 1 of 15




                            CONFIDENTIAL SETTLEMENT
                            CONFIDENTIAL SETTLEMENT AGREEMENT
                                                    AGREEMENT

         This Confidential
         This    Confidential Settlement
                                 Settlement Agreement
                                                 Agreement is   is made
                                                                    made and and entered
                                                                                   entered into
                                                                                              into by
                                                                                                    by and
                                                                                                        and between
                                                                                                            between the the
undersigned as
undersigned      as of
                     of August
                        August 22,22, 2022
                                       2022 (the
                                              (the “Effective
                                                    “Effective Date”),
                                                                   Date”), andand isis aa binding
                                                                                          binding contract
                                                                                                    contract pursuant
                                                                                                              pursuant toto
which   the below
which the     below named
                       named parties
                               parties have
                                         have fully
                                               fully and
                                                      and finally
                                                            finally settled
                                                                      settled all  claims and
                                                                               all claims    and controversies
                                                                                                  controversies existing
                                                                                                                  existing
between and
between     and among
                 among them,
                          them, according
                                  according to to the
                                                  the terms
                                                       terms ofof this
                                                                   this Confidential
                                                                         Confidential Settlement
                                                                                           Settlement Agreement.
                                                                                                        Agreement. The The
parties to
parties  to this
             this agreement
                  agreement areare National
                                     National Bank
                                                Bank ofof Kuwait,
                                                           Kuwait, S.A.K.P.,
                                                                       S.A.K.P., NewNew York
                                                                                           York Branch,
                                                                                                  Branch, Galleria
                                                                                                           Galleria 2425
                                                                                                                     2425
Owner, LLC,
Owner,     LLC, Naissance
                   Naissance Galleria,
                               Galleria, LLC,
                                            LLC, and
                                                   and Ali
                                                        Ali Choudhri.
                                                              Choudhri.

                                            l.
                                            I.       DEFINITIONS
                                                     D EFINITIONS

        In addition
       In  addition to
                    to other
                       other definitions
                              definitions provided
                                          provided in
                                                   in this
                                                      this document
                                                           document as
                                                                    as needed,
                                                                       needed, the
                                                                               the Parties
                                                                                   Parties hereto
                                                                                           hereto have
                                                                                                  have
agreed to
agreed to the
           the following
               following definitions:
                          definitions:

         1.1
         1.1       “Agreement” means
                   “Agreement” means this
                                     this Confidential
                                          Confidential Settlement
                                                       Settlement Agreement.
                                                                  Agreement.

          1.2
          1.2        “Claims” means
                    “Claims”        means thethe Lawsuit
                                                  Lawsuit (as  (as defined
                                                                    defined below)
                                                                               below) andand all
                                                                                              all other
                                                                                                   other claims,
                                                                                                           claims, counter-
                                                                                                                      counter-
claims, causes
claims,     causes of  of action,
                            action, controversies,
                                      controversies, losses,
                                                          losses, demands,
                                                                    demands, costs,
                                                                                 costs, damages,
                                                                                          damages, liabilities
                                                                                                        liabilities (joint
                                                                                                                      (joint or
                                                                                                                              or
several), expenses
several),    expenses of     of any
                                any nature
                                      nature (including
                                               (including attorneys’
                                                              attorneys’ fees,
                                                                           fees, costs
                                                                                  costs and/or
                                                                                          and/or expenses),
                                                                                                    expenses), judgments,
                                                                                                                   judgments,
fines, and
fines,   and other
               other amounts,
                         amounts, both both known
                                              known andand unknown,
                                                              unknown, asserted
                                                                           asserted or or not
                                                                                           not asserted,
                                                                                                 asserted, accrued
                                                                                                             accrued or  or not
                                                                                                                             not
accrued, from
accrued,     from the
                    the beginning
                           beginning of  of time
                                            time up
                                                  up until
                                                      until the
                                                              the date
                                                                   date of
                                                                        of this
                                                                            this Agreement,
                                                                                 Agreement, under under any
                                                                                                          any theory
                                                                                                               theory or or any
                                                                                                                            any
cause of
cause   of action
            action whatsoever          recognized by
                     whatsoever recognized          by law
                                                         law oror equity
                                                                  equity between
                                                                          between NBK,NBK, Galleria,
                                                                                              Galleria, and
                                                                                                          and Ali
                                                                                                                Ali Choudhri
                                                                                                                     Choudhri
(and Naissance
(and   Naissance to   to the
                           the extent
                                extent Naissance
                                         Naissance exercises
                                                     exercises the the Purchase
                                                                       Purchase Option
                                                                                   Option pursuant
                                                                                             pursuant to to Section
                                                                                                             Section 3.1(h)),
                                                                                                                       3.1(h)),
as such
as  such terms
           terms are
                   are defined
                          defined below.
                                     below.

       1.3
       1.3     “NBK” means
               “NBK”    means National
                                National Bank
                                           Bank of
                                                 of Kuwait,
                                                    Kuwait, S.A.K.P.,
                                                            S.A.K.P., New
                                                                      New York
                                                                          York Branch,
                                                                               Branch, the
                                                                                       the
Defendant and
Defendant  and Counter-Plaintiff
               Counter-Plaintiff in
                                 in the
                                    the Lawsuit.
                                        Lawsuit.

          1.4
          1.4        “NBK Released
                    “NBK    Released Parties”
                                        Parties” means
                                                   means NBK
                                                           NBK and
                                                                 and all
                                                                       all of
                                                                           of its
                                                                               its present
                                                                                   present or
                                                                                            or past
                                                                                               past parents,
                                                                                                     parents, present
                                                                                                                present
or past
or  past subsidiaries,
          subsidiaries, divisions,
                           divisions, partners,
                                        partners, successors-in-interest,
                                                    successors-in-interest, predecessors,
                                                                                 predecessors, present
                                                                                                 present and
                                                                                                           and future
                                                                                                                 future
affiliates, shareholders,
affiliates,    shareholders, unit
                                unit holders,
                                       holders, employees,
                                                   employees, officers,
                                                                 officers, directors,
                                                                             directors, representatives,
                                                                                           representatives, agents,
                                                                                                                agents,
investigators, attorneys,
investigators,      attorneys, assigns,
                                 assigns, executors,
                                             executors, administrators,
                                                           administrators, lenders,
                                                                                lenders, lien
                                                                                          lien holders,
                                                                                                 holders, creditors,
                                                                                                             creditors,
financing institutions,
financing     institutions, banks,
                             banks, and
                                     and insurers,
                                           insurers, and
                                                      and those
                                                          those in
                                                                 in privity
                                                                    privity therewith.
                                                                              therewith.

        15
        1.5     “Galleria” means
                “Galleria” means Galleria
                                 Galleria 2425
                                          2425 Owner,
                                               Owner, LLC,
                                                      LLC, the
                                                           the Plaintiff
                                                               Plaintiff and
                                                                         and Counter-Defendant
                                                                             Counter-Defendant
in the
in the Lawsuit.
       Lawsuit.

          1.6
          1.6        “Galleria Released
                     “Galleria   Released Parties”
                                              Parties” means
                                                         means Galleria
                                                                 Galleria and
                                                                            and all
                                                                                 all of
                                                                                     of its
                                                                                         its present
                                                                                              present or
                                                                                                       or past
                                                                                                          past parents,
                                                                                                                parents,
present or
present    or past
                 past subsidiaries,
                        subsidiaries, divisions,
                                          divisions, partners,
                                                       partners, successors-in-interest,
                                                                   successors-in-interest, members,
                                                                                                 members, managers,
                                                                                                             managers,
guarantors (including
guarantors     (including thethe Guarantor
                                  Guarantor under
                                                under the
                                                        the Loan
                                                            Loan Agreement),       predecessors, present
                                                                  Agreement), predecessors,         present and
                                                                                                             and future
                                                                                                                  future
affiliates, shareholders,
affiliates,    shareholders, unitunit holders,
                                         holders, employees,
                                                     employees, officers,
                                                                   officers, directors,
                                                                               directors, representatives,
                                                                                             representatives, agents,
                                                                                                                 agents,
investigators, attorneys,
investigators,       attorneys, assigns,
                                   assigns, executors,
                                               executors, administrators,
                                                             administrators, lenders,
                                                                                 lenders, lien
                                                                                             lien holders,
                                                                                                   holders, creditors,
                                                                                                              creditors,
financing institutions,
financing     institutions, banks,
                              banks, and
                                       and insurers,
                                             insurers, and
                                                        and those
                                                            those inin privity
                                                                       privity therewith.
                                                                               therewith.
       Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 2 of 15




        1.7
        1.7      “Choudhri” means
                 “Choudhri” means Ali
                                  Ali Choudhri
                                      Choudhri in
                                               in his
                                                  his sole
                                                      sole and
                                                           and individual
                                                               individual capacity
                                                                          capacity and
                                                                                   and as
                                                                                       as
Intervenor in
Intervenor  in the
               the Lawsuit.
                   Lawsuit.

         1.8
         1.8        “Choudhri Released
                   “Choudhri     Released Parties”
                                              Parties” means
                                                         means Choudhri,
                                                                Choudhri, both
                                                                             both inin his
                                                                                        his individual
                                                                                            individual capacity
                                                                                                       capacity and
                                                                                                                 and
including his
including    his heirs,
                  heirs, assigns,
                           assigns, agents,
                                      agents, executors,
                                                 executors, attorneys,
                                                             attorneys, lenders,
                                                                          lenders, administrators,
                                                                                      administrators, lien
                                                                                                       lien holders,
                                                                                                            holders,
creditors, and
creditors,   and those
                  those inin privity
                              privity therewith,
                                       therewith, along
                                                     along with   any entity
                                                            with any   entity inin which    Choudhri may
                                                                                   which Choudhri      may have
                                                                                                            have anan
ownership interest
ownership     interest in
                        in and/or
                            and/or right
                                    right to
                                           to control
                                               control now
                                                        now or
                                                             or in
                                                                in the
                                                                   the future.
                                                                       future.

         1.9
         1.9       “Naissance” means
                   “Naissance” means Naissance
                                     Naissance Galleria,
                                               Galleria, LLC.
                                                         LLC.

        1.10
        1.10     “Parties” means
                 “Parties” means NBK,
                                   NBK, Galleria,
                                        Galleria, Naissance,
                                                  Naissance, and
                                                             and Choudhri,
                                                                 Choudhri, as
                                                                           as defined
                                                                              defined herein,
                                                                                      herein, who
                                                                                              who
are the
are the parties
        parties to
                to this
                   this Agreement.
                        Agreement.

         1.11
         1.11    “Lawsuit” means:
                 “Lawsuit”   means: Cause
                                    Cause No.
                                           No. 2021-63370;
                                               2021-63370; Galleria
                                                                Galleria 2425
                                                                           2425 Owner,
                                                                                  Owner, LLC
                                                                                          LLC v.
                                                                                               v. National
                                                                                                  National
Bank of
Bank   of Kuwait,
          Kuwait, S.A.K.P.,
                   S.A.K.P., A
                             A New
                                New York
                                    York Branch,
                                         Branch, et
                                                  et al.;
                                                     al.; in
                                                          in the
                                                             the 281
                                                                  281% District
                                                                      st
                                                                         District Court
                                                                                  Court of
                                                                                        of Harris
                                                                                           Harris County,
                                                                                                   County,
Texas.
Texas.

       1.12
       1.12     “Loan Agreement”
                “Loan Agreement” means
                                   means that
                                         that certain
                                               certain Loan
                                                        Loan Agreement    between NBK
                                                              Agreement between   NBK and
                                                                                       and Galleria,
                                                                                            Galleria,
dated May
dated May 23,
            23, 2018.
                2018. Capitalized
                      Capitalized terms
                                  terms not
                                        not defined
                                             defined herein
                                                       herein shall
                                                              shall have
                                                                    have the
                                                                         the meaning
                                                                             meaning ascribed
                                                                                     ascribed inin the
                                                                                                   the
Loan Agreement.
Loan  Agreement.

          1.13
         1.13      “Loan Documents”
                   “Loan     Documents” collectively
                                             collectively means
                                                              means the
                                                                      the following
                                                                           following documents
                                                                                        documents as   as defined
                                                                                                           defined in  in the
                                                                                                                          the
Loan Agreement:
Loan   Agreement: the  the Loan
                             Loan Agreement,
                                    Agreement, the  the Promissory
                                                         Promissory Note,Note, the
                                                                               the Deed
                                                                                    Deed ofof Trust,
                                                                                               Trust, thethe Assignment
                                                                                                              Assignment
of Leases
of  Leases and
             and Rents,
                   Rents, the
                            the Guaranty,
                                 Guaranty, thethe Environmental
                                                   Environmental Indemnity
                                                                       Indemnity Agreement,
                                                                                    Agreement, the  the Assignment
                                                                                                          Assignment of    of
Agreements, Licenses,
Agreements,      Licenses, Permits
                               Permits and
                                         and Contracts,
                                              Contracts, the the Subordination
                                                                 Subordination of  of Management
                                                                                       Management Agreement,
                                                                                                         Agreement, the   the
Fee Letter,
Fee   Letter, the
               the Intercreditor
                     Intercreditor Agreement,
                                       Agreement, the  the Control
                                                             Control Account
                                                                       Account Agreement,
                                                                                  Agreement, any   any Assignment
                                                                                                          Assignment of    of
Interest Rate
Interest   Rate Agreement
                  Agreement entered
                                  entered into
                                            into after
                                                  after the
                                                          the Closing
                                                               Closing Date
                                                                          Date and
                                                                                and any
                                                                                      any and
                                                                                           and all
                                                                                                 all other
                                                                                                      other documents,
                                                                                                                documents,
agreements and
agreements     and certificates
                     certificates executed
                                     executed and/or
                                                 and/or delivered
                                                           delivered inin connection
                                                                           connection with     the Loan,
                                                                                         with the    Loan, as  as the
                                                                                                                   the same
                                                                                                                        same
may be
may   be amended,
          amended, restated,
                       restated, replaced,
                                   replaced, supplemented
                                               supplemented or    or otherwise
                                                                     otherwise modified
                                                                                 modified from
                                                                                             from time
                                                                                                    time to to time.
                                                                                                                time. Loan
                                                                                                                        Loan
Documents shall
Documents      shall also
                      also include
                             include any
                                       any Interest
                                            Interest Rate
                                                       Rate Protection
                                                              Protection Product
                                                                           Product oror ISDA
                                                                                         ISDA Master
                                                                                                Master Agreement.
                                                                                                           Agreement.

       1.14
       1.14   “Property” means
              “Property” means that
                                that certain
                                     certain real
                                             real property
                                                  property and
                                                           and improvements
                                                               improvements located
                                                                            located at
                                                                                    at 2425
                                                                                       2425 West
                                                                                            West
Loop South,
Loop South, Houston,
            Houston, TX
                      TX 77027.
                         77027.

       1.15
       1.15  “Purchase Option
             “Purchase   Option Parties”
                                  Parties” means
                                           means Naissance,
                                                 Naissance, Galleria,
                                                            Galleria, Choudhri
                                                                      Choudhri and
                                                                               and an
                                                                                   an entity
                                                                                      entity
wholly owned and
wholly owned and controlled
                 controlled by
                             by Choudhri.
                                Choudhri.

                                              I.
                                              II.       RECITALS
                                                        R ECITALS

        2.1
        2.1      WHEREAS,
                 WHEREAS, the   the Parties
                                     Parties understand
                                              understand and
                                                           and agree
                                                               agree that
                                                                      that the
                                                                           the claims
                                                                               claims and
                                                                                       and defenses
                                                                                            defenses asserted
                                                                                                       asserted
between them
between   them are
                are in
                    in dispute,
                       dispute, the
                                 the Parties
                                      Parties desire
                                               desire to
                                                      to confidentially
                                                         confidentially compromise
                                                                          compromise andand settle
                                                                                             settle the
                                                                                                    the Claims
                                                                                                        Claims
and the
and  the Lawsuit,
          Lawsuit, and
                     and including
                          including allall claims,
                                            claims, counter-claims,
                                                     counter-claims, claims
                                                                        claims in
                                                                                in intervention,
                                                                                    intervention, third-party
                                                                                                    third-party

                                                                                                                           22
          Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 3 of 15




claims and
claims  and causes
             causes ofof action
                          action that
                                   that were
                                        were asserted
                                               asserted or or which
                                                              which could
                                                                       could have
                                                                               have been
                                                                                      been asserted,
                                                                                            asserted, currently
                                                                                                        currently known
                                                                                                                    known
or unknown,
or unknown, fromfrom the
                      the beginning
                            beginning of of time
                                            time upup until
                                                       until the
                                                              the date
                                                                  date ofof this
                                                                            this Agreement,
                                                                                 Agreement, whether
                                                                                                 whether oror not
                                                                                                              not alleged
                                                                                                                   alleged
or set
or set forth
       forth in
              in prior
                 prior correspondence,
                        correspondence, claims,
                                              claims, pleadings,
                                                         pleadings, or or orally,
                                                                           orally, which    arise out
                                                                                    which arise    out of
                                                                                                        of the
                                                                                                           the Claims
                                                                                                                Claims oror
the Lawsuit,
the  Lawsuit, the
                the related
                     related occurrences,
                               occurrences, or  or legal
                                                    legal proceedings,
                                                            proceedings, and and which
                                                                                  which pertain
                                                                                           pertain thereto,
                                                                                                     thereto, to
                                                                                                               to prevent
                                                                                                                  prevent
any current
any  current or
              or future
                  future litigation
                           litigation by
                                       by or
                                           or between
                                              between the  the Parties
                                                                Parties arising
                                                                          arising out
                                                                                   out of
                                                                                        of or
                                                                                           or related
                                                                                               related to
                                                                                                        to the
                                                                                                           the Claims
                                                                                                                Claims oror
the Lawsuit.
the Lawsuit.

         2.2
         2.2       WHEREAS,
                   WHEREAS, the    the Parties
                                         Parties deny
                                                    deny all
                                                           all allegations,
                                                                allegations, claims,
                                                                                claims, counterclaims,
                                                                                          counterclaims, claims
                                                                                                           claims in in
intervention and
intervention    and third-party
                    third-party claims
                                  claims arising
                                            arising out
                                                      out of
                                                          of the
                                                              the Claims
                                                                   Claims or
                                                                           or the
                                                                               the Lawsuit,
                                                                                    Lawsuit, and
                                                                                              and by
                                                                                                   by executing
                                                                                                      executing this
                                                                                                                  this
Agreement,
Agreement, the the Parties
                    Parties make
                              make no no admissions,
                                          admissions, but  but rather
                                                                 rather have
                                                                        have settled
                                                                               settled those
                                                                                        those claims
                                                                                               claims and
                                                                                                       and defenses
                                                                                                            defenses
which   were raised
which were     raised or
                       or could
                           could have
                                  have been
                                         been raised
                                                 raised by
                                                         by compromise
                                                              compromise as  as set
                                                                                 set forth
                                                                                     forth below
                                                                                            below in
                                                                                                   in order
                                                                                                      order to
                                                                                                             to avoid
                                                                                                                avoid
further litigation
further  litigation and
                     and to
                          to buy
                             buy peace
                                  peace of of mind.
                                              mind.

                                               Im.
                                               III.      AGREEMENT
                                                         A GREEMENT

         NOW, THEREFORE,
         NOW,    THEREFORE, for   for and
                                        and inin consideration
                                                 consideration ofof the
                                                                    the mutual
                                                                          mutual promises,
                                                                                  promises, covenants
                                                                                             covenants and
                                                                                                        and
agreements contained
agreements    contained herein,
                         herein, for
                                 for the
                                      the resolution
                                           resolution and
                                                       and settlement
                                                            settlement ofof the
                                                                            the Claims
                                                                                Claims and
                                                                                         and the
                                                                                             the Lawsuit
                                                                                                 Lawsuit as
                                                                                                          as
set forth below, and for other good and valuable consideration, the receipt and sufficiency of which
set forth below,  and for other good   and  valuable  consideration,   the receipt and sufficiency of which
is hereby
is hereby acknowledged,
           acknowledged, thethe Parties
                                Parties agree
                                          agree and
                                                 and covenant
                                                     covenant asas follows:
                                                                   follows:

     A.
     A.        SETTLEMENT TERMS
               SETTLEMENT TERMS

         3.1
        3.1       (a) Acknowledgement
                  (a) Acknowledgement of   of the
                                              the Indebtedness.
                                                   Indebtedness.           As of
                                                                           As  of the
                                                                                    the Effective
                                                                                          Effective Date,
                                                                                                     Date,
Choudhri, Galleria
Choudhri,     Galleria and
                        and Naissance
                            Naissance acknowledge
                                        acknowledge and and agree
                                                             agree that
                                                                    that NBK
                                                                          NBK isis owed
                                                                                   owed $60,212,816.90
                                                                                           $60,212,816.90
under the
under  the Loan
             Loan Documents,
                    Documents, without
                                 without defenses,
                                          defenses, setoffs,
                                                     setoffs, claims,
                                                              claims, counterclaims
                                                                        counterclaims oror deductions
                                                                                            deductions ofof
any nature
any  nature whatsoever,
               whatsoever, all
                             all of
                                 of which
                                    which are
                                           are hereby
                                                hereby expressly
                                                        expressly waived;
                                                                   waived;

                      (b) Acknowledgment
                      (b)   Acknowledgment of          of Existing
                                                            Existing Defaults.
                                                                        Defaults. Galleria,
                                                                                        Galleria, Choudhri
                                                                                                      Choudhri and  and Naissance
                                                                                                                           Naissance
further acknowledges and agrees that: (i) an Event of Default exists under the Loan Documents,
further    acknowledges          and   agrees   that:  (i)  an  Event   of   Default     exists  under    the  Loan     Documents,
(ii) any
(ii)  any cure
           cure period
                  period withwith respect
                                    respect thereto
                                              thereto has
                                                        has expired,
                                                             expired, (iii)
                                                                        (iii) all
                                                                              all principal,
                                                                                   principal, interest,
                                                                                                 interest, fees,
                                                                                                            fees, costs
                                                                                                                    costs and
                                                                                                                            and other
                                                                                                                                 other
charges due
charges     due under
                   under the the Loan
                                  Loan Documents
                                          Documents are   are fully
                                                               fully accelerated
                                                                      accelerated and  and immediately
                                                                                              immediately due  due andand owing
                                                                                                                            owing to to
NBK without
NBK                      defenses, setoffs,
          without defenses,             setoffs, claims
                                                    claims or  or counterclaims
                                                                    counterclaims or       or deductions
                                                                                                deductions of     of anyany nature
                                                                                                                               nature
whatsoever
whatsoever all     all of
                        of which
                            which are are hereby
                                            hereby expressly
                                                      expressly waived,
                                                                    waived, and  and (iv)
                                                                                       (iv) that
                                                                                             that each
                                                                                                   each ofof Galleria,
                                                                                                              Galleria, Choudhri
                                                                                                                            Choudhri
and Naissance
and    Naissance waives
                      waives the the right
                                      right to
                                             to all
                                                 all notices
                                                     notices (including
                                                                (including butbut not
                                                                                    not limited
                                                                                          limited toto notice
                                                                                                        notice of
                                                                                                                of default,
                                                                                                                     default, notice
                                                                                                                                notice
of intent
of   intent toto accelerate,
                  accelerate, notice
                                   notice ofof acceleration,
                                                acceleration, and and notice
                                                                       notice of  of foreclosure)
                                                                                      foreclosure) each each may
                                                                                                               may otherwise
                                                                                                                       otherwise be be
entitled to
entitled    to under
                 under the the Loan
                                 Loan Documents
                                         Documents or    or otherwise.
                                                              otherwise. Galleria,
                                                                             Galleria, Choudhri
                                                                                           Choudhri and  and Naissance
                                                                                                               Naissance further
                                                                                                                               further
acknowledge and
acknowledge          and agree
                           agree that
                                   that all
                                         all conditions
                                              conditions precedent
                                                             precedent forfor NBK
                                                                               NBK to   to post
                                                                                            post the
                                                                                                  the Property
                                                                                                       Property for for foreclosure
                                                                                                                         foreclosure
have been
have    been fully
                fully satisfied;
                        satisfied;

                (c) Acknowledgment
                (c)  Acknowledgment of  of Right
                                           Right to
                                                  to Foreclose.
                                                     Foreclose. Except
                                                                Except as
                                                                       as otherwise
                                                                          otherwise provided
                                                                                     provided in
                                                                                               in this
                                                                                                  this
Agreement, Galleria, Choudhri and Naissance expressly recognize and acknowledge that NBK can
Agreement,   Galleria,   Choudhri and Naissance expressly  recognize and acknowledge   that NBK   can
exercise all
exercise all of
             of its
                 its rights
                     rights and
                            and remedies
                                remedies under
                                          under the
                                                the Loan
                                                     Loan Documents,
                                                           Documents, which
                                                                       which are
                                                                              are fully
                                                                                  fully matured
                                                                                        matured and
                                                                                                  and


                                                                                                                                     3
         Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 4 of 15




available for
available  for exercise
               exercise byby NBK,
                               NBK, including,
                                      including, without
                                                 without limitation,
                                                           limitation, the
                                                                       the right
                                                                            right to
                                                                                  to foreclose
                                                                                     foreclose and
                                                                                                and the
                                                                                                    the right
                                                                                                        right to
                                                                                                              to
recover on
recover  on any
             any part
                  part or
                       or all
                           all of
                               of the
                                  the indebtedness
                                      indebtedness without
                                                     without defenses,
                                                               defenses, setoffs,
                                                                           setoffs, claims
                                                                                     claims or
                                                                                             or counterclaims
                                                                                                counterclaims
or deductions
or deductions of of any
                     any nature
                           nature whatsoever      all of
                                     whatsoever all   of which
                                                         which areare hereby
                                                                      hereby expressly
                                                                                expressly waived;
                                                                                           waived;

                      (d) Settlement
                      (d)   Settlement Payment.  Payment. On      On or  or before
                                                                              before the the Payment
                                                                                                  Payment Date     Date (as(as defined
                                                                                                                                  defined below),
                                                                                                                                              below),
Galleria will
Galleria     will pay
                    pay oror cause
                               cause to  to bebe paid
                                                  paid to to NBK
                                                               NBK the  the total
                                                                             total sumsum of   of $27,000,000
                                                                                                   $27,000,000 as        as aa settlement
                                                                                                                                settlement for  for all
                                                                                                                                                      all
amounts owed under the Loan Documents, as follows: (i) within five (5) days of the Effective
amounts       owed     under     the    Loan      Documents,          as   follows:     (i)    within       five    (5)  days     of  the  Effective
Date, Galleria
Date,   Galleria agrees
                      agrees to to request
                                     request the  the Court
                                                        Court to to transfer
                                                                      transfer the the amount
                                                                                        amount depositeddeposited into  into the
                                                                                                                               the registry
                                                                                                                                     registry of of the
                                                                                                                                                     the
Court by
Court    by Choudhri,
               Choudbhri, currently
                               currently EIGHT  EIGHT HUNDREDHUNDRED AND         AND ONE   ONE THOUSAND
                                                                                                      THOUSAND FIVE           FIVE HUNDRED
                                                                                                                                       HUNDRED
AND NINE
AND      NINE AND   AND 42/100
                             42/100 US    US DOLLARS
                                                DOLLARS ($801,509.42)
                                                                    ($801,509.42) (such    (such amount,
                                                                                                       amount, including
                                                                                                                      including any  any increases
                                                                                                                                           increases
thereto or
thereto    or income
                income thereon,
                           thereon, the  the “Down
                                                “Down Payment”)
                                                            Payment”) directly
                                                                             directly to  to NBK.
                                                                                                NBK. To    To thethe extent
                                                                                                                      extent thatthat aa Settlement
                                                                                                                                         Settlement
Default (as
Default      (as defined
                   defined below)
                               below) occurs,occurs, thenthen NBKNBK shall shall be be entitled
                                                                                        entitled to     to retain
                                                                                                             retain thethe Down
                                                                                                                             Down Payment
                                                                                                                                        Payment as     as
liquidated damages
liquidated       damages and, and, in in addition,
                                          addition, shallshall bebe entitled
                                                                      entitled to  to pursue
                                                                                       pursue all   all of
                                                                                                         of its
                                                                                                              its rights
                                                                                                                   rights and
                                                                                                                            and remedies
                                                                                                                                   remedies underunder
this Agreement,
this  Agreement, the     the Loan
                               Loan Documents
                                        Documents or        or otherwise
                                                                otherwise at    at law
                                                                                     law or or inin equity.
                                                                                                      equity. If   If necessary,
                                                                                                                      necessary, NBK   NBK agrees
                                                                                                                                                agrees
to join
to        in Galleria’s
    join in   Galleria’s request
                              request to   to the
                                               the Court
                                                     Court where
                                                               where the the Lawsuit
                                                                              Lawsuit is     is pending
                                                                                                 pending seekingseeking disbursement
                                                                                                                            disbursement of      of the
                                                                                                                                                     the
funds constituting
funds   constituting the    the Down
                                  Down PaymentPayment that  that isis currently
                                                                       currently on   on file
                                                                                           file with
                                                                                                   with the the registry
                                                                                                                  registry of of the
                                                                                                                                   the court
                                                                                                                                        court in in the
                                                                                                                                                     the
Lawsuit; (ii)
Lawsuit;       (ii) within
                    within two two hundred
                                       hundred ten   ten (210)
                                                           (210) daysdays of of the
                                                                                  the Effective
                                                                                        Effective Date    Date (such
                                                                                                                   (such date,
                                                                                                                            date, thethe “Payment
                                                                                                                                          “Payment
Date”)     Galleria agrees
Date”) Galleria          agrees to   to pay,
                                           pay, or or cause
                                                        cause to  to be be paid
                                                                             paid to  to NBK
                                                                                           NBK the     the balance
                                                                                                              balance by   by wirewire transfer
                                                                                                                                         transfer in   in
immediately available
immediately         available fundsfunds (the (the “Settlement
                                                      “Settlement Payment”),
                                                                         Payment”), except   except to    to the
                                                                                                              the extent
                                                                                                                     extent that
                                                                                                                               that the
                                                                                                                                      the Purchase
                                                                                                                                            Purchase
Option is
Option     is exercised
               exercised pursuant
                              pursuant to    to Section
                                                 Section 3.1(h);
                                                              3.1(h); andand (iii)
                                                                               (iii) contemporaneously
                                                                                       contemporaneously with           with NBK’s
                                                                                                                                NBK’s receipt
                                                                                                                                           receipt of  of
the Settlement
the  Settlement Payment
                      Payment set   set forth
                                          forth in in Section
                                                       Section 3.1(d)(ii),
                                                                   3.1(d)(ii), NBK  NBK will will file
                                                                                                     file aa release
                                                                                                               release of of its
                                                                                                                              its lien
                                                                                                                                   lien and
                                                                                                                                         and deliver
                                                                                                                                               deliver
proof of
proof   of such
             such release
                     release to to Galleria’s
                                    Galleria’s attorneys
                                                      attorneys establishing
                                                                     establishing that  that no  no NBKNBK liens liens exist
                                                                                                                        exist or or have
                                                                                                                                     have notnot been
                                                                                                                                                   been
otherwise released
otherwise       released by  by NBK;
                                  NBK;

                  (e) The
                 (e)   The Settlement
                           Settlement Payment
                                         Payment shall
                                                   shall be
                                                          be made
                                                               made inin good
                                                                         good and
                                                                                and immediately
                                                                                    immediately available
                                                                                                    available funds
                                                                                                               funds
by wire
by       transfer to
   wire transfer    to an
                       an account
                          account designated
                                    designated byby NBK
                                                     NBK in  in writing;   provided, however,
                                                                writing; provided,    however, that
                                                                                                  that to
                                                                                                       to the
                                                                                                          the extent
                                                                                                              extent
the Settlement
the  Settlement Payment
                   Payment is is made
                                  made in in connection
                                             connection with
                                                           with aa sale
                                                                     sale oror refinancing
                                                                               refinancing ofof the
                                                                                                 the Property,
                                                                                                      Property, the
                                                                                                                  the
Settlement Payment may be first transferred to a title company handling the closing of such sale
Settlement   Payment      may  be  first transferred  to a  title company      handling  the  closing  of  such  sale
or refinancing
or refinancing for
                 for onward
                       onward remittance
                                remittance toto NBK;
                                                NBK;

                  (Ff) Galleria
                 (f)   Galleria acknowledges
                                  acknowledges and   and agrees
                                                           agrees that
                                                                    that to
                                                                          to the
                                                                              the extent
                                                                                   extent the
                                                                                           the Settlement
                                                                                                Settlement Payment
                                                                                                             Payment is  is
remitted to
remitted  to NBK,
              NBK, or  or to
                          to an
                             an agreed
                                 agreed upon
                                          upon title
                                                 title company
                                                        company as   as escrow
                                                                         escrow agent
                                                                                   agent or
                                                                                          or other
                                                                                              other acceptable
                                                                                                     acceptable escrow
                                                                                                                  escrow
agent for
agent  for further
           further delivery
                      delivery toto NBK,
                                    NBK, by by anyone
                                                anyone otherother than
                                                                    than Galleria
                                                                           Galleria (including,
                                                                                      (including, without
                                                                                                    without limitation,
                                                                                                              limitation,
any lender
any  lender to
             to Galleria),
                Galleria), then
                              then Galleria
                                    Galleria has
                                              has nono right,
                                                         right, title
                                                                title or
                                                                       or interest
                                                                           interest of
                                                                                     of any
                                                                                        any kind
                                                                                              kind whatsoever
                                                                                                   whatsoever in  in such
                                                                                                                     such
Settlement Payment
Settlement   Payment or   or the
                             the proceeds
                                  proceeds thereof;
                                             thereof;

                    (9) Dismissal
                    (g)  Dismissal of of the
                                          the Lawsuit.
                                               Lawsuit. Within      five (5)
                                                          Within five    (5) days
                                                                             days of
                                                                                   of the
                                                                                       the Effective
                                                                                            Effective Date,
                                                                                                      Date, Galleria
                                                                                                            Galleria
will   execute, enter,
will execute,     enter, and
                          and file
                               file in
                                    in conjunction
                                        conjunction with
                                                       with NBK
                                                              NBK aa joint   motion for
                                                                       joint motion   for dismissal
                                                                                           dismissal with  prejudice
                                                                                                      with prejudice
of all
of  all of
        of its
           its claims
               claims against
                        against NBK
                                 NBK in  in the
                                            the Lawsuit
                                                Lawsuit and
                                                          and aa motion
                                                                  motion to
                                                                          to permanently
                                                                             permanently dissolve
                                                                                             dissolve with prejudice
                                                                                                      with prejudice
the Court’s
the   Court’s Temporary
                Temporary Injunction
                               Injunction Order
                                             Order issued
                                                    issued in
                                                            in the
                                                                the Lawsuit;
                                                                     Lawsuit;




                                                                                                                                                       4
           Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 5 of 15




                       (h) Purchase
                       (h)    Purchase Option.Option. NBK    NBK grants
                                                                      grants the  the Purchase
                                                                                         Purchase Option  Option Parties,
                                                                                                                       Parties, as     as directed
                                                                                                                                            directed by   by
Choudhri, the
Choudhri,      the sole
                      sole and
                             and exclusive
                                    exclusive right
                                                  right to to purchase
                                                               purchase the  the Loan
                                                                                    Loan Documents
                                                                                             Documents as        as follows:
                                                                                                                     follows: (i)    (i) the
                                                                                                                                           the Purchase
                                                                                                                                                Purchase
Option Parties
Option     Parties each each acknowledge
                                acknowledge that      that aa Purchase
                                                                 Purchase OptionOption Event Event (as   (as defined
                                                                                                               defined in      in the
                                                                                                                                   the Intercreditor
                                                                                                                                           Intercreditor
Agreement)
Agreement) has     has occurred,
                          occurred, that that Naissance
                                                Naissance has   has received
                                                                      received aa Purchase
                                                                                         Purchase Option Option Notice
                                                                                                                    Notice (as    (as defined
                                                                                                                                         defined in  in the
                                                                                                                                                         the
Intercreditor Agreement),
Intercreditor       Agreement), and        and that
                                                 that thethe Monetary
                                                                Monetary Cure    Cure Period
                                                                                           Period (as   (as defined
                                                                                                              defined in      in the
                                                                                                                                   the Intercreditor
                                                                                                                                           Intercreditor
Agreement)
Agreement) has     has expired;
                          expired; (ii)(ii) the
                                             the Parties
                                                  Parties agree
                                                              agree that
                                                                       that the
                                                                              the Loan
                                                                                     Loan Purchase
                                                                                              Purchase Price  Price (within
                                                                                                                        (within the   the meaning
                                                                                                                                             meaning of    of
Section 12(a)
Section     12(a) of of the
                          the Intercreditor
                                Intercreditor Agreement)
                                                   Agreement) is        is $27,000,000
                                                                            $27,000,000 payable   payable as   as follows:
                                                                                                                   follows: (x)     (x) $801,509.42
                                                                                                                                           $801,509.42
in the
in  the form
         form of  of the
                       the Down
                             Down Payment
                                        Payment payable
                                                      payable pursuant
                                                                   pursuant to     to section
                                                                                        section 3.1(d)
                                                                                                    3.1(d) hereof;
                                                                                                                hereof; and   and (y) (y) the
                                                                                                                                            the balance
                                                                                                                                                  balance
payable by
payable     by wire
                 wire transfer
                          transfer in  in good
                                            good and
                                                   and immediately
                                                          immediately availableavailable funds funds on   on oror before
                                                                                                                   before the    the Payment
                                                                                                                                        Payment Date   Date
(such payment,
(such    payment, the    the “Purchase
                              “Purchase Option Option Payment”);
                                                           Payment”); (iii)  (iii) other
                                                                                     other than
                                                                                              than thethe amount
                                                                                                             amount of     of the
                                                                                                                                the Loan
                                                                                                                                       Loan Purchase
                                                                                                                                                Purchase
Price set
Price   set forth
              forth in  in this
                            this section
                                   section 3.1(h),
                                               3.1(h), aa Purchase
                                                              Purchase OptionOption Party’s
                                                                                          Party’s exercise
                                                                                                       exercise of    of thethe Purchase
                                                                                                                                   Purchase Option Option
shall be
shall   be inin the
                 the form
                        form and and manner
                                        manner provided
                                                    provided in    in Section
                                                                        Section 12    12 ofof the
                                                                                                the Intercreditor
                                                                                                       Intercreditor Agreement;
                                                                                                                              Agreement; (iv)      (iv) all
                                                                                                                                                          all
Parties consent
Parties    consent to    to the
                             the transfer
                                   transfer of  of the
                                                    the Loan
                                                          Loan Documents
                                                                   Documents to         to aa Purchase
                                                                                               Purchase Option Option Party   Party in   in connection
                                                                                                                                             connection
with   the exercise
with the     exercise of   of the
                               the purchase
                                     purchase option;
                                                   option; (v) (v) to
                                                                    to the
                                                                         the extent
                                                                               extent thatthat aa party
                                                                                                    party other
                                                                                                             other thanthan aa Purchase
                                                                                                                                   Purchase Option Option
Party seeks
Party   seeks to  to exercise
                       exercise this this purchase
                                            purchase option,
                                                          option, NBK NBK has   has thethe right
                                                                                             right to to consent
                                                                                                           consent to    to such
                                                                                                                              such exercise,
                                                                                                                                        exercise, such such
consent not
consent      not to to be be unreasonably
                               unreasonably withheld;withheld; and   and (vi) (vi) NBKNBK shall  shall transfer
                                                                                                           transfer and   and assign
                                                                                                                                  assign the   the Loan
                                                                                                                                                      Loan
Documents to
Documents        to the
                      the party
                            party exercising
                                     exercising this this purchase
                                                            purchase optionoption uponupon NBK’s
                                                                                               NBK’s receiptreceipt of  of the
                                                                                                                             the Purchase
                                                                                                                                   Purchase Option Option
Payment. Upon
Payment.       Upon written
                          written request
                                       request of of aa Purchase
                                                           Purchase Option Option Party,Party, NBK NBK shall shall provide
                                                                                                                       provide such    such Purchase
                                                                                                                                                Purchase
Option Party
Option     Party withwith aa payoff
                                  payoff statement
                                             statement for   for the
                                                                  the satisfaction
                                                                          satisfaction or     or purchase
                                                                                                   purchase of     of itsits loan
                                                                                                                                loan and and the
                                                                                                                                               the Loan
                                                                                                                                                      Loan
Documents;
Documents;

                    (i) within
                    (i)  within five
                                  five (5)
                                        (5) days
                                             days ofof the
                                                        the Payment
                                                              Payment Date,
                                                                         Date, NBKNBK willwill prepare,
                                                                                                prepare, execute
                                                                                                            execute and
                                                                                                                      and file
                                                                                                                           file aa
request to
request   to the
              the Court
                    Court in in which
                                 which thethe Lawsuit
                                               Lawsuit is   is pending
                                                                pending for
                                                                          for anan abatement
                                                                                    abatement of   of NBK’s
                                                                                                        NBK’s claims
                                                                                                                 claims inin the
                                                                                                                              the
Lawsuit. To
Lawsuit.    To the
                 the extent
                       extent the
                                the Court
                                     Court declines
                                             declines to  to grant
                                                              grant such
                                                                     such abatement
                                                                            abatement request,
                                                                                            request, then
                                                                                                       then NBK
                                                                                                              NBK shall
                                                                                                                    shall file
                                                                                                                           file aa
nonsuit, without
nonsuit,                prejudice, of
           without prejudice,        of its
                                         its claims
                                             claims andand Galleria
                                                              Galleria specifically
                                                                        specifically agrees
                                                                                          agrees (i)
                                                                                                   (i) that
                                                                                                        that such
                                                                                                             such claims
                                                                                                                   claims may
                                                                                                                            may
be refiled
be  refiled following
             following aa the  the occurrence
                                    occurrence of  of aa Settlement
                                                          Settlement Default;
                                                                        Default; (ii)(ii) that
                                                                                           that they
                                                                                                they will
                                                                                                       will accept
                                                                                                             accept service
                                                                                                                     service ofof
any such refiled claims by email on their counsel; and (iii) they agree not to assert any statute of
any  such   refiled    claims    by  email   on  their   counsel;    and  (iii)  they    agree  not   to  assert any  statute  of
limitations, laches
limitations,    laches or or similar
                             similar defense
                                       defense in in response
                                                      response to  to such
                                                                      such refiled
                                                                             refiled claims;
                                                                                        claims;

                    (1) Except
                   (j)   Except upon
                                   upon the the occurrence
                                                 occurrence of  of aa Settlement
                                                                      Settlement Default,
                                                                                     Default, NBK
                                                                                               NBK willwill not
                                                                                                              not take
                                                                                                                   take measures
                                                                                                                          measures
to foreclose
to foreclose on on the
                    the Property
                           Property or or sell
                                           sell or
                                                 or assign
                                                     assign the
                                                              the loan,
                                                                   loan, other
                                                                          other than
                                                                                 than asas provided
                                                                                           provided forfor inin this
                                                                                                                this Agreement,
                                                                                                                      Agreement,
for two
for  two hundred
          hundred ten  ten (210)
                            (210) days
                                    days after
                                            after the
                                                   the Effective
                                                        Effective DateDate (such
                                                                            (such period,
                                                                                    period, the
                                                                                             the “Foreclosure
                                                                                                   “Foreclosure Forbearance
                                                                                                                      Forbearance
Period”), and
Period”),    and during
                   during such such Foreclosure
                                      Foreclosure Forbearance
                                                         Forbearance Period,
                                                                           Period, Galleria
                                                                                     Galleria will     maintain the
                                                                                                will maintain        the Property
                                                                                                                           Property
itself and
itself  and maintain
               maintain all  all insurance
                                   insurance policies
                                                   policies covering
                                                               covering the the Property.
                                                                                  Property.      If during
                                                                                                 If  during the the Foreclosure
                                                                                                                       Foreclosure
Forbearance Period,
Forbearance      Period, Galleria
                             Galleria presents
                                          presents aa request
                                                          request on on behalf
                                                                         behalf ofof any
                                                                                      any potential
                                                                                           potential tenant
                                                                                                        tenant that
                                                                                                                  that presents
                                                                                                                         presents aa
Material Lease:
Material    Lease: 1) 1) that
                          that does
                                does notnot include
                                              include subordination
                                                        subordination and   and non-disturbance
                                                                                 non-disturbance agreement
                                                                                                       agreement from  from NBK,
                                                                                                                              NBK,
Galleria shall
Galleria   shall be
                  be permitted
                        permitted to  to enter
                                           enter into
                                                   into such
                                                         such lease
                                                                 lease without
                                                                        without obtaining
                                                                                   obtaining NBK’s
                                                                                                NBK’s priorprior consent;
                                                                                                                   consent; or or 2)
                                                                                                                                  2)
that does
that  does include
             include subordination
                         subordination and    and non-disturbance
                                                    non-disturbance agreement
                                                                          agreement from from NBK,
                                                                                                NBK, thenthen NBK
                                                                                                                NBK shallshall have
                                                                                                                               have
the right
the  right to
           to accept
               accept or  or reject
                              reject pursuant
                                      pursuant to   to the
                                                       the Loan
                                                             Loan Documents;
                                                                     Documents;

      B.
      B.          RELEASES
                  RELEASES


                                                                                                                                                           5
        Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 6 of 15




          4.1
          4.1       Release of
                    Release of NBK
                               NBK Released
                                   Released Parties.
                                            Parties.

                  (a) by
                  (a)  by Galleria.
                           Galleria. As     of the
                                        As of    the Effective
                                                     Effective Date,
                                                                   Date, Galleria
                                                                            Galleria RELEASES,
                                                                                         RELEASES, ACQUITS  ACQUITS AND     AND
FOREVER DISCHARGES
FOREVER          DISCHARGES the         the NBKNBK Released
                                                        Released Parties
                                                                      Parties from from all all claims,
                                                                                                 claims, both
                                                                                                            both known
                                                                                                                     known andand
unknown, accrued
unknown,     accrued or or not
                            not accrued,
                                 accrued, fromfrom thethe beginning
                                                            beginning of  of time
                                                                               time until
                                                                                       until the
                                                                                               the date
                                                                                                    date of
                                                                                                          of this
                                                                                                              this Agreement,
                                                                                                                    Agreement,
including, but
including,   but not
                 not limited
                      limited to,
                                to, any
                                     any and
                                          and all
                                                all claims
                                                    claims relating
                                                              relating to
                                                                        to the
                                                                             the Claims
                                                                                  Claims or   or the
                                                                                                 the Lawsuit.
                                                                                                      Lawsuit. UponUpon NBK’s
                                                                                                                          NBK’s
receipt of either the Settlement Payment or the Purchase Option Payment, Galleria further
receipt   of  either  the   Settlement      Payment        or  the   Purchase       Option       Payment,     Galleria    further
RELEASES, ACQUITS
RELEASES,        ACQUITS AND      AND FOREVER
                                          FOREVER DISCHARGESDISCHARGES the           the NBK
                                                                                          NBK Released
                                                                                                   Released Parties
                                                                                                                Parties from
                                                                                                                         from all
                                                                                                                                all
known and
known    and unknown
               unknown claims,
                           claims, accrued
                                      accrued or  or not
                                                     not accrued,
                                                           accrued, from
                                                                       from the the beginning
                                                                                      beginning of  of time
                                                                                                        time until
                                                                                                               until the
                                                                                                                      the date
                                                                                                                          date ofof
such payment,
such   payment, including,
                   including, but  but not
                                        not limited
                                              limited to,to, any
                                                              any and
                                                                    and allall claims
                                                                                 claims relating
                                                                                            relating toto the
                                                                                                           the Claims
                                                                                                                 Claims or or the
                                                                                                                               the
Lawsuit;
Lawsuit;

                  (b) By
                  (b)   By Choudhri.
                             Choudhri. AsAs ofof the
                                                  the Effective
                                                       Effective Date,
                                                                   Date, Choudhri
                                                                           Choudhri RELEASES,
                                                                                        RELEASES, ACQUITSACQUITS
AND    FOREVER DISCHARGES
AND FOREVER              DISCHARGES the       the NBK
                                                    NBK Released
                                                           Released Parties
                                                                       Parties from
                                                                                 from all
                                                                                        all known
                                                                                             known andand unknown
                                                                                                           unknown
claims, accrued
claims,  accrued or  or not
                         not accrued,
                               accrued, from
                                         from thethe beginning
                                                      beginning ofof time
                                                                      time until
                                                                             until the
                                                                                    the date
                                                                                          date of
                                                                                                of this
                                                                                                   this Agreement,
                                                                                                         Agreement,
including, but
including,  but not
                 not limited
                       limited to,
                                to, any
                                    any and
                                        and all
                                             all claims
                                                 claims relating
                                                         relating to
                                                                   to the
                                                                      the Claims
                                                                          Claims or or the
                                                                                       the Lawsuit.
                                                                                            Lawsuit. Upon
                                                                                                       Upon NBK’s
                                                                                                              NBK’s
receipt of
receipt  of either
             either the
                      the Settlement
                            Settlement Payment
                                          Payment or  or the
                                                          the Purchase
                                                               Purchase Option
                                                                           Option Payment,
                                                                                      Payment, Choudhri
                                                                                                  Choudhri further
                                                                                                              further
RELEASES, ACQUITS
RELEASES,     ACQUITS AND        FOREVER DISCHARGES
                          AND FOREVER         DISCHARGES the     the NBK
                                                                     NBK Released
                                                                            Released Parties
                                                                                      Parties from
                                                                                               from all
                                                                                                     all
known and unknown claims, accrued or not accrued, from the beginning of time until the date of
known   and unknown  claims, accrued  or not accrued, from   the beginning   of time  until the date  of
such payment,
such  payment, including,
               including, but
                          but not
                               not limited
                                   limited to,
                                           to, any
                                               any and
                                                    and all
                                                         all claims
                                                              claims relating
                                                                      relating to
                                                                                to the
                                                                                   the Claims
                                                                                       Claims or or the
                                                                                                    the
Lawsuit.
Lawsuit.

                  (c) by
                  (c)  by Naissance.
                            Naissance. As  As ofof the
                                                    the Effective
                                                           Effective Date,
                                                                        Date, Naissance
                                                                                Naissance RELEASES,
                                                                                              RELEASES, ACQUITS  ACQUITS
AND FOREVER
AND     FOREVER DISCHARGES
                         DISCHARGES the         the NBKNBK Released
                                                               Released Parties
                                                                             Parties from
                                                                                       from all
                                                                                              all known
                                                                                                    known and and unknown
                                                                                                                    unknown
claims, accrued
claims,  accrued or  or not
                         not accrued,
                               accrued, from
                                           from thethe beginning
                                                          beginning of  of time
                                                                            time until
                                                                                   until the
                                                                                          the date
                                                                                                date ofof this
                                                                                                           this Agreement,
                                                                                                                 Agreement,
including, but
including,   but not
                   not limited
                         limited to,to, any
                                         any and
                                               and allall claims
                                                            claims relating
                                                                      relating toto the
                                                                                     the Claims,
                                                                                          Claims, the  the Lawsuit
                                                                                                            Lawsuit or or the
                                                                                                                           the
Intercreditor Agreement.
Intercreditor  Agreement. Upon    Upon NBK’s
                                          NBK’s receipt
                                                    receipt of of either
                                                                   either the
                                                                           the Settlement
                                                                                Settlement Payment
                                                                                               Payment or   or the
                                                                                                               the Purchase
                                                                                                                    Purchase
Option Payment,
Option   Payment, Choudhri
                      Choudhri further
                                    further RELEASES,
                                              RELEASES, ACQUITS  ACQUITS AND      AND FOREVER
                                                                                         FOREVER DISCHARGESDISCHARGES
the NBK
the  NBK Released
           Released Parties
                        Parties from
                                  from all
                                         all known
                                              known and  and unknown
                                                              unknown claims,
                                                                           claims, accrued
                                                                                     accrued or  or not
                                                                                                    not accrued,
                                                                                                          accrued, from
                                                                                                                     from the
                                                                                                                           the
beginning of
beginning   of time
                time until
                       until the
                              the date
                                   date of
                                         of such
                                             such payment,
                                                    payment, including,
                                                                  including, butbut not
                                                                                     not limited
                                                                                          limited to,
                                                                                                    to, any
                                                                                                         any and
                                                                                                              and all
                                                                                                                   all claims
                                                                                                                       claims
relating to
relating to the
            the Claims,
                 Claims, the the Lawsuit
                                  Lawsuit or or the
                                                 the Intercreditor
                                                       Intercreditor Agreement.
                                                                        Agreement.

          4.2
          4.2       Release of
                    Release of Choudhri
                               Choudhri Released
                                        Released Parties.
                                                 Parties.

                   (a) By
                   (a)  By NBK.
                             NBK. As  As ofof the
                                                the Effective
                                                      Effective Date,
                                                                    Date, NBKNBK RELEASES,
                                                                                     RELEASES, ACQUITS    ACQUITS AND     AND
FOREVER DISCHARGES
FOREVER          DISCHARGES the       the Choudhri
                                           Choudhri Released
                                                         Released Parties
                                                                      Parties from
                                                                                from all
                                                                                       all known
                                                                                            known andand unknown
                                                                                                           unknown claims,
                                                                                                                        claims,
accrued or
accrued   or not
              not accrued,
                   accrued, from
                              from the
                                     the beginning
                                          beginning of  of time
                                                            time until
                                                                   until the
                                                                          the date
                                                                               date of
                                                                                     of this
                                                                                         this Agreement,       including, but
                                                                                               Agreement, including,         but
not limited
not  limited to,
               to, any
                    any and
                         and all
                               all claims
                                   claims relating
                                             relating toto the
                                                            the Claims
                                                                  Claims or  or the
                                                                                 the Lawsuit.
                                                                                      Lawsuit. Effective
                                                                                                   Effective uponupon NBK’s
                                                                                                                        NBK’s
receipt of
receipt   of the
               the Settlement
                     Settlement Payment
                                     Payment or   or the
                                                       the Purchase
                                                             Purchase OptionOption Payment,
                                                                                        Payment, NBK   NBK RELEASES,
                                                                                                                RELEASES,
ACQUITS AND
ACQUITS        AND FOREVER
                       FOREVER DISCHARGES
                                       DISCHARGES the         the Choudhri
                                                                   Choudhri Released
                                                                                 Released Parties
                                                                                              Parties from
                                                                                                        from all
                                                                                                               all known
                                                                                                                    known and
                                                                                                                            and
unknown claims,
unknown      claims, accrued
                       accrued or  or not
                                       not accrued,
                                             accrued, fromfrom thethe beginning
                                                                        beginning of   of time
                                                                                            time until
                                                                                                   until the
                                                                                                           the date
                                                                                                                 date of
                                                                                                                       of such
                                                                                                                           such
payment, including,
payment,    including, butbut not
                               not limited
                                    limited to,
                                              to, any
                                                   any and
                                                        and all
                                                              all claims
                                                                  claims relating
                                                                            relating toto the
                                                                                           the Claims
                                                                                                Claims or or the
                                                                                                              the Lawsuit.
                                                                                                                    Lawsuit.


                                                                                                                                 6
          Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 7 of 15




           4.3
           4.3      Release of
                    Release of Galleria
                               Galleria Released
                                        Released Parties.
                                                 Parties.

                   (a) By
                   (a)   By NBK.
                              NBK. Effective
                                        Effective uponupon NBK’s
                                                              NBK’s receipt
                                                                         receipt ofof the
                                                                                       the Settlement
                                                                                             Settlement Payment
                                                                                                              Payment or    or the
                                                                                                                                the
Purchase Option
Purchase    Option Payment,
                      Payment, NBK  NBK RELEASES,
                                            RELEASES, ACQUITS ACQUITS AND     AND FOREVER
                                                                                      FOREVER DISCHARGES DISCHARGES the         the
Galleria Released
Galleria   Released Parties
                        Parties from
                                   from all
                                          all known
                                               known and and unknown
                                                              unknown claims,
                                                                            claims, accrued
                                                                                      accrued or  or not
                                                                                                      not accrued,
                                                                                                            accrued, fromfrom the
                                                                                                                                the
beginning of
beginning    of time
                time until
                       until the
                               the date
                                    date of
                                          of this
                                              this Agreement,
                                                    Agreement, including,
                                                                    including, but
                                                                                 but not
                                                                                       not limited
                                                                                            limited to,to, any
                                                                                                            any and
                                                                                                                 and all
                                                                                                                       all claims
                                                                                                                            claims
relating to
relating  to the
             the Claims
                  Claims or  or the
                                 the Lawsuit.
                                      Lawsuit. Galleria
                                                   Galleria acknowledges
                                                              acknowledges and   and agrees
                                                                                        agrees that
                                                                                                 that such
                                                                                                        such release,
                                                                                                               release, NBK’s
                                                                                                                           NBK’s
dismissal of
dismissal   of its
               its claims
                   claims in in the
                                 the Lawsuit
                                      Lawsuit and and the
                                                       the other
                                                           other obligations
                                                                   obligations NBKNBK has has or
                                                                                               or will
                                                                                                   will occur
                                                                                                          occur inin connection
                                                                                                                     connection
with  this Agreement
with this   Agreement constitute
                            constitute new new value
                                                  value given
                                                          given toto Galleria
                                                                      Galleria byby NBK
                                                                                     NBK and  and that
                                                                                                    that such
                                                                                                           such newnew value
                                                                                                                          value isis
given by
given   by NBK
            NBK andand received
                          received by by Galleria
                                          Galleria contemporaneously
                                                      contemporaneously with    with thethe releases
                                                                                             releases andand any
                                                                                                               any other
                                                                                                                     other value
                                                                                                                             value
given or
given  or obligation
           obligation incurred
                          incurred by by Galleria
                                          Galleria under
                                                      under this
                                                              this Agreement.
                                                                    Agreement.

     C.
     C.          REPRESENTATIONS AND
                 REPRESENTATIONS AND WARRANTIES
                                     WARRANTIES

          5.1 Capacity
          5.1 Capacity toto Execute
                            Execute Agreement.
                                      Agreement. The The Parties
                                                           Parties represent
                                                                    represent and
                                                                               and warrant
                                                                                   warrant that
                                                                                            that they
                                                                                                 they have
                                                                                                      have the
                                                                                                           the
sole right
sole  right and
             and exclusive
                 exclusive authority
                            authority to
                                       to enter
                                          enter into
                                                 into and
                                                      and execute
                                                            execute this
                                                                      this Agreement
                                                                           Agreement and
                                                                                       and that
                                                                                           that they
                                                                                                 they have
                                                                                                      have not
                                                                                                           not
sold, assigned,
sold,  assigned, transferred
                  transferred or
                               or otherwise
                                  otherwise disposed
                                              disposed ofof any
                                                             any of
                                                                  of the
                                                                     the Claims.
                                                                          Claims.

         5.2 Due
         5.2 Due Authority.
                  Authority. Each
                              Each Party
                                     Party hereto
                                            hereto that
                                                    that is
                                                          is not
                                                             not aa natural
                                                                     natural person
                                                                              person has
                                                                                      has duly
                                                                                           duly authorized
                                                                                                authorized the
                                                                                                            the
person signing
person   signing this
                 this Agreement
                      Agreement on on such
                                       such Party’s
                                             Party’s behalf
                                                       behalf toto do
                                                                    do so
                                                                        so and
                                                                            and each
                                                                                 each such
                                                                                       such signatory
                                                                                             signatory has
                                                                                                        has the
                                                                                                            the
requisite power and authority to bind such Party to the terms of this Agreement.
requisite  power  and authority to  bind  such Party   to the  terms   of  this Agreement.

          5.3 Concerning
         5.3   Concerning any      any Foreclosure.
                                          Foreclosure. Following
                                                              Following any  any Settlement
                                                                                   Settlement Default,
                                                                                                    Default, each
                                                                                                                each ofof Galleria,
                                                                                                                           Galleria,
Choudhri and
Choudhri     and Naissance
                   Naissance covenant
                                  covenant and  and agree
                                                     agree that
                                                              that they
                                                                    they shall
                                                                          shall not
                                                                                 not seek
                                                                                       seek toto restrain
                                                                                                  restrain or
                                                                                                            or otherwise
                                                                                                                otherwise hinder,
                                                                                                                              hinder,
delay, frustrate
delay,  frustrate or or impair
                          impair NBK’s
                                   NBK’s efforts
                                              efforts to
                                                       to (i)
                                                           (i) foreclose
                                                               foreclose uponupon anyany collateral
                                                                                          collateral granted
                                                                                                        granted under
                                                                                                                   under the
                                                                                                                           the Loan
                                                                                                                                Loan
Documents, or
Documents,      or (ii)
                    (ii) enforce
                           enforce its
                                     its rights
                                          rights and
                                                  and remedies
                                                        remedies pursuant
                                                                     pursuant to to the
                                                                                     the Loan
                                                                                          Loan Documents.
                                                                                                   Documents. The  The provisions
                                                                                                                         provisions
of this
of this Paragraph
         Paragraph shall shall be
                                be specifically
                                    specifically enforceable
                                                     enforceable by    by NBK
                                                                           NBK and and Galleria,
                                                                                         Galleria, Choudhri
                                                                                                      Choudhri and  and Naissance
                                                                                                                         Naissance
acknowledge and
acknowledge       and agree
                         agree that
                                 that any
                                        any breach
                                             breach thereof
                                                       thereof will
                                                                  will expose
                                                                        expose NBKNBK to  to irreparable
                                                                                              irreparable harmharm and
                                                                                                                     and therefore
                                                                                                                          therefore
injunctive relief
injunctive    relief isis necessary
                           necessary without         having to
                                         without having        to prove
                                                                   prove damages
                                                                            damages or   or post
                                                                                             post aa bond
                                                                                                      bond or or other
                                                                                                                  other collateral.
                                                                                                                         collateral.
Galleria, Choudhri
Galleria,   Choudhri and   and Naissance
                                Naissance will will cooperate,
                                                     cooperate, assist
                                                                     assist and
                                                                             and execute
                                                                                  execute all all necessary
                                                                                                   necessary documents,
                                                                                                                documents, upon upon
NBK’s request, in furtherance of NBK’s rights, powers and remedies under the Loan Documents.
NBK’s     request,    in  furtherance      of  NBK’s     rights,   powers     and   remedies      under   the  Loan    Documents.

          5.4 Assignment
          5.4  Assignment of    of Tax
                                   Tax Liens.
                                         Liens. Within       five (5)
                                                   Within five     (5) days
                                                                         days ofof the
                                                                                    the Effective
                                                                                         Effective Date,
                                                                                                     Date, Choudhri
                                                                                                             Choudhri shall
                                                                                                                        shall
cause the
cause   the transfer
             transfer and
                       and assignment
                            assignment of  of the
                                              the tax
                                                    tax liens
                                                         liens with
                                                                with respect
                                                                        respect to to the
                                                                                       the Property
                                                                                             Property for
                                                                                                       for years
                                                                                                            years 2019
                                                                                                                  2019 and
                                                                                                                         and
2020 (the
2020   (the “Tax
             “Tax Liens”)
                    Liens”) toto NBK.
                                  NBK. NBK NBK represents
                                                   represents andand warrants
                                                                        warrants thatthat it
                                                                                           it will
                                                                                              will not
                                                                                                   not take
                                                                                                        take any
                                                                                                              any measures
                                                                                                                  measures
to foreclose
to foreclose on on the
                   the Property
                        Property pursuant
                                    pursuant toto the
                                                   the Tax
                                                       Tax Liens
                                                              Liens during
                                                                       during thethe Foreclosure
                                                                                      Foreclosure Forbearance
                                                                                                      Forbearance Period.
                                                                                                                     Period.
Upon NBK’s
Upon    NBK’s receipt
                  receipt of
                           of either
                               either the
                                       the Settlement
                                            Settlement Payment
                                                           Payment or     or Purchase
                                                                              Purchase Option
                                                                                           Option Payment,
                                                                                                     Payment, NBKNBK shall
                                                                                                                        shall
contemporaneously transfer
contemporaneously        transfer and
                                    and assign
                                         assign the
                                                  the Tax
                                                       Tax Liens
                                                              Liens toto Choudhri.
                                                                           Choudhri.

     D.
     D.          DEFAULT
                 DEFAULT

        6.1 Settlement
        6.1  Settlement Default.
                           Default. Each
                                    Each of
                                          of the
                                             the following
                                                 following shall
                                                            shall constitute
                                                                  constitute aa Settlement
                                                                                 Settlement Default:
                                                                                             Default: (i)
                                                                                                       (i)
failure of
failure of any
           any of
                of Galleria,
                   Galleria, Choudhri
                              Choudhri or
                                        or Naissance
                                           Naissance to
                                                      to comply
                                                         comply with    its representations,
                                                                  with its  representations, warranties,
                                                                                             warranties,

                                                                                                                                   77
           Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 8 of 15




covenants or
covenants       or other
                     other undertakings
                               undertakings under    under this   this Agreement;
                                                                         Agreement; (ii)      (ii) breach
                                                                                                      breach of  of any
                                                                                                                     any representation
                                                                                                                              representation made       made by   by
Galleria, Choudhri
Galleria,     Choudhri or       or Naissance
                                     Naissance in      in this
                                                            this Agreement;
                                                                    Agreement; (iii)    (iii) if  if NBK
                                                                                                      NBK does does not not receive
                                                                                                                                receive the   the Settlement
                                                                                                                                                    Settlement
Payment or
Payment      or thethe Purchase
                         Purchase Option Option Payment
                                                    Payment on        on oror before
                                                                               before the the Payment
                                                                                                  Payment Date;  Date; (iv)(iv) if if Galleria
                                                                                                                                      Galleria (a)    (a) admits
                                                                                                                                                           admits
in writing
in  writing of   of itsits inability
                             inability to   to pay
                                                 pay its its debts
                                                               debts generally
                                                                          generally as    as theythey become
                                                                                                          become due,   due, (b)  (b) file
                                                                                                                                         file aa petition
                                                                                                                                                     petition in   in
bankruptcy or
bankruptcy         or aa petition
                           petition to   to take
                                             take advantage
                                                    advantage of         of any
                                                                             any insolvency
                                                                                    insolvency act;      act; (c)
                                                                                                                (c) make
                                                                                                                     make an     an assignment
                                                                                                                                      assignment for       for the
                                                                                                                                                                 the
benefit of
benefit    of creditors;
                creditors; (d)     (d) consent
                                         consent to,  to, or or acquiesce
                                                                  acquiesce in,    in, the
                                                                                         the appointment
                                                                                                 appointment of       of aa receiver,
                                                                                                                                receiver, liquidator
                                                                                                                                                 liquidator or     or
trustee of
trustee   of itself
               itself or  or of
                              of the
                                   the whole
                                         whole or  or anyany substantial
                                                                 substantial part  part of of itsits properties
                                                                                                       properties or   or assets;
                                                                                                                             assets; (e)  (e) file
                                                                                                                                                file aa petition
                                                                                                                                                          petition
or answer
or   answer seeking  seeking reorganization,
                                       reorganization, arrangement, arrangement, composition,composition, readjustment,
                                                                                                                      readjustment, liquidation,   liquidation,
dissolution or
dissolution        or similar
                        similar relief
                                     relief under
                                               under the  the Federal
                                                                  Federal Bankruptcy
                                                                               Bankruptcy laws        laws or or any
                                                                                                                   any other
                                                                                                                           other applicable
                                                                                                                                      applicable law;     law; (f)(f)
have aa court
have      court of   of competent
                           competent jurisdiction
                                             jurisdiction enter    enter an an order,
                                                                                order, judgment
                                                                                            judgment or       or decree
                                                                                                                   decree appointing
                                                                                                                                appointing aa receiver, receiver,
liquidator or
liquidator     or trustee
                     trustee of   of Borrower,
                                       Borrower, or     or of of the
                                                                   the whole
                                                                         whole or  or any
                                                                                        any substantial
                                                                                                 substantial part   part of of the
                                                                                                                                 the property
                                                                                                                                        property or     or assets
                                                                                                                                                            assets
of Borrower,
of  Borrower, and    and suchsuch order,
                                      order, judgment
                                                judgment or       or decree
                                                                      decree shall
                                                                                 shall remain
                                                                                          remain unabatedunabated or   or notnot setset aside
                                                                                                                                          aside or  or unstated
                                                                                                                                                         unstated
for sixty
for  sixty (60)(60) days;days; (g)  (g) have
                                           have aa petition
                                                        petition filed  filed against
                                                                                 against it     it seeking
                                                                                                     seeking reorganization,
                                                                                                                   reorganization, arrangement, arrangement,
composition, readjustment,
composition,          readjustment, liquidation,
                                              liquidation, dissolution
                                                                   dissolution or     or similar
                                                                                          similar relief relief under
                                                                                                                  under the   the Federal
                                                                                                                                     Federal Bankruptcy
                                                                                                                                                   Bankruptcy
laws or
laws   or any
            any other
                    other applicable
                              applicable law     law andand suchsuch petition
                                                                         petition shall
                                                                                      shall remain
                                                                                                 remain undismissed
                                                                                                              undismissed for        for sixty
                                                                                                                                           sixty (60) (60) days;
                                                                                                                                                              days;
(h) have,
(h)  have, under
               under the    the provisions
                                   provisions of     of anyany otherother law law forfor thethe relief
                                                                                                     relief oror aid
                                                                                                                   aid of of debtors,
                                                                                                                                 debtors, any    any court
                                                                                                                                                         court of  of
competent jurisdiction assume custody or control of Borrower or of the whole or any substantial
competent        jurisdiction          assume      custody         or  control     of   Borrower           or  of   the    whole       or    any    substantial
part of
part  of its
          its property
               property or     or assets
                                    assets andand such
                                                    such custody
                                                               custody or    or control
                                                                                control shall shall remain
                                                                                                        remain unterminated
                                                                                                                    unterminated or          or unstayed
                                                                                                                                                  unstayed for   for
sixty (60)
sixty   (60) days;
                days; or    or (i)
                                (i) have
                                      have an  an attachment
                                                   attachment or         or execution
                                                                              execution levied  levied against
                                                                                                            against the  the Property
                                                                                                                                 Property which  which is    is not
                                                                                                                                                                 not
discharged or
discharged        or dissolved
                      dissolved by      by aa bond
                                                bond within
                                                         within sixty sixty (60)
                                                                               (60) days;
                                                                                       days;

        6.2 Remedies.
        6.2 Remedies. Upon Upon the
                                  the occurrence
                                       occurrence of   of aa Settlement
                                                             Settlement Default,
                                                                          Default, NBK
                                                                                    NBK shall
                                                                                          shall have
                                                                                                have the
                                                                                                     the right
                                                                                                         right to
                                                                                                               to
pursue any
pursue  any and
             and all
                  all rights
                       rights and
                              and remedies
                                    remedies it it has
                                                    has under
                                                          under the
                                                                 the Loan
                                                                      Loan Documents,
                                                                             Documents, applicable
                                                                                          applicable law
                                                                                                      law and
                                                                                                          and in
                                                                                                               in
equity, including,
equity, including, without
                     without limitation,
                               limitation, the
                                            the right
                                                  right to
                                                         to pursue
                                                             pursue foreclosure
                                                                     foreclosure of
                                                                                  of the
                                                                                     the Property.
                                                                                         Property.

      E.
      E.           GUARANTY
                   GUARANTY

         7.1 Choudhri
         7.1   Choudhri agrees
                            agrees that
                                      that to
                                            to the
                                                the extent
                                                     extent that
                                                               that any
                                                                     any portion
                                                                           portion ofof the
                                                                                         the Settlement
                                                                                              Settlement Payment
                                                                                                            Payment or or the
                                                                                                                           the
Purchase Option Payment is avoided and recovered as a result of the operation of any bankruptcy
Purchase    Option    Payment      is  avoided     and   recovered      as a  result  of  the  operation   of any  bankruptcy
or other
or other proceeding,
          proceeding, then then Choudhri
                                  Choudhri shall shall be
                                                        be liable
                                                             liable for,
                                                                     for, and
                                                                           and absolutely
                                                                                absolutely and and unconditionally
                                                                                                     unconditionally
guarantees to
guarantees     to NBK,
                   NBK, the
                          the prompt
                                prompt payment
                                           payment to   to NBK
                                                             NBK of of such
                                                                        such avoided
                                                                               avoided and and recovered
                                                                                                recovered sums.
                                                                                                             sums. This
                                                                                                                     This
guaranty is
guaranty    is aa guaranty
                  guaranty of of payment
                                  payment and  and not
                                                     not ofof collection
                                                               collection andand Choudhri
                                                                                  Choudhri waives
                                                                                                waives any
                                                                                                         any right
                                                                                                              right to
                                                                                                                     to require
                                                                                                                        require
NBK to
NBK    to sue
          sue Galleria
                 Galleria or
                           or any
                                any other
                                     other party
                                              party oror to
                                                          to foreclose
                                                              foreclose on on the
                                                                               the Property
                                                                                   Property or   or any
                                                                                                    any other
                                                                                                         other collateral.
                                                                                                                collateral.

      F.
      F.           DEFENSE, INDEMNITY
                   DEFENSE, INDEMNITY AND
                                      AND HOLD
                                          HOLD HARMLESS.
                                               HARMLESS.

        8.1
        8.1       In consideration
                 In   consideration of of the
                                           the mutual
                                                mutual promises,
                                                          promises, covenants,
                                                                      covenants, and  and agreements
                                                                                           agreements contained
                                                                                                          contained
herein, for
herein, for the
            the resolution
                  resolution and
                               and settlement
                                    settlement ofof the
                                                     the Claims
                                                          Claims and
                                                                   and the
                                                                         the Lawsuit,
                                                                               Lawsuit, Galleria
                                                                                          Galleria agrees
                                                                                                    agrees toto fully
                                                                                                                fully
defend, indemnify,
defend,  indemnify, and and hold
                             hold NBK
                                    NBK Released
                                            Released Parties
                                                        Parties harmless
                                                                 harmless fromfrom any
                                                                                     any and
                                                                                          and all
                                                                                               all claims
                                                                                                   claims asserted
                                                                                                            asserted
against the
against the NBK
            NBK Released
                     Released Parties
                                Parties by
                                         by any
                                             any party
                                                 party that
                                                         that are
                                                              are related
                                                                  related toto the
                                                                                the Property,
                                                                                    Property, the
                                                                                               the Loan,
                                                                                                    Loan, the
                                                                                                           the Loan
                                                                                                                Loan
Documents, this
Documents,    this Agreement
                    Agreement and and any
                                       any payments
                                             payments made
                                                         made under
                                                                under it.
                                                                       it.



                                                                                                                                                                  8
         Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 9 of 15




           G.
           G.        MISCELLANEOUS
                     MISCELLANEOUS

         9.1
         9.1       The Parties
                   The    Parties further
                                     further agree
                                               agree that
                                                       that this
                                                             this Agreement
                                                                   Agreement shallshall not
                                                                                         not bebe interpreted
                                                                                                   interpreted asas an
                                                                                                                    an
admission of
admission     of liability
                 liability on
                            on the
                                 the part
                                      part of
                                           of any
                                               any of
                                                    of the
                                                        the Parties
                                                            Parties hereto.
                                                                     hereto. The
                                                                               The consideration
                                                                                    consideration described
                                                                                                     described above
                                                                                                                above
has been
has been given
            given byby way
                       way of  of compromise
                                   compromise to  to avoid
                                                      avoid expenses
                                                             expenses andand terminate
                                                                              terminate all
                                                                                          all controversies
                                                                                              controversies between
                                                                                                              between
the Parties,
the Parties, regardless
               regardless to to the
                                 the extent
                                      extent of
                                              of the
                                                 the Claims
                                                      Claims and
                                                               and the
                                                                    the Lawsuit.
                                                                         Lawsuit.

         9.2
         9.2     ItIt is
                      is further
                         further agreed
                                  agreed that
                                          that the
                                               the considerations
                                                    considerations stated
                                                                    stated above
                                                                            above are
                                                                                   are the
                                                                                        the sole
                                                                                             sole considerations
                                                                                                   considerations
for this
for this Agreement,
          Agreement, and  and that
                               that the
                                    the considerations
                                        considerations areare contractual
                                                              contractual and
                                                                           and not
                                                                                not mere
                                                                                     mere recitals,
                                                                                            recitals, and
                                                                                                      and that
                                                                                                           that all
                                                                                                                all
agreements and
agreements    and understandings
                     understandings of of the
                                          the Parties
                                               Parties are
                                                       are expressed
                                                            expressed herein.
                                                                       herein.

          9.3
         9.3         CONFIDENTIALITY AGREEMENT.
                    CONFIDENTIALITY                      AGREEMENT. The              The Parties
                                                                                            Parties hereby
                                                                                                         hereby further
                                                                                                                     further expressly
                                                                                                                                 expressly
represent, warrant,
represent,     warrant, and  and agree
                                    agree that
                                             that inin making
                                                         making this  this Agreement,
                                                                             Agreement, NBK,    NBK, Galleria,
                                                                                                          Galleria, Naissance,
                                                                                                                         Naissance, and  and
Choudhri will
Choudhri        will keep
                       keep thethe negotiations,
                                      negotiations, contents contents and    and terms
                                                                                   terms of   of this
                                                                                                    this Agreement
                                                                                                           Agreement completelycompletely
confidential and
confidential       and will     not make
                         will not     make knownknown such   such information
                                                                      information to      to anyone
                                                                                              anyone at    at any
                                                                                                               any timetime under
                                                                                                                               under any any
circumstances (meaning
circumstances         (meaning that  that such
                                            such information
                                                     information may       may notnot bebe published,
                                                                                             published, displayed,
                                                                                                              displayed, discussed,
                                                                                                                                discussed,
disclosed, revealed
disclosed,     revealed or  or characterized,
                                 characterized, directly directly or   or indirectly,
                                                                            indirectly, in  in any
                                                                                                 any wayway toto any
                                                                                                                   any one)one) save
                                                                                                                                  save and
                                                                                                                                         and
except the
except    the Parties
                Parties themselves,
                          themselves, and     and as  as toto their
                                                               their tax tax advisor
                                                                               advisor or  or attorney,
                                                                                                attorney, in   in which
                                                                                                                    which case case NBK,
                                                                                                                                       NBK,
Galleria, Naissance,
Galleria,     Naissance, and  and Choudhri
                                     Choudhri warrantwarrant that   that such
                                                                            such individuals
                                                                                   individuals shall   shall also
                                                                                                              also comply
                                                                                                                      comply with with this
                                                                                                                                         this
confidentiality provision,
confidentiality       provision, exceptexcept as  as compelled
                                                       compelled to       to do
                                                                              do so
                                                                                  so byby law.
                                                                                            law. The  The Parties
                                                                                                             Parties further
                                                                                                                          further agree,
                                                                                                                                      agree,
however, that
however,      that any
                     any action
                          action brought
                                      brought on   on anyany kind
                                                                kind herein
                                                                         herein released,
                                                                                    released, this this Agreement
                                                                                                          Agreement may      may be be pled
                                                                                                                                        pled
by the
by  the party
         party against
                   against whom
                              whom the  the claim
                                              claim is  is filed
                                                            filed asas aa defense
                                                                            defense andand this
                                                                                              this Agreement
                                                                                                      Agreement may     may be be used
                                                                                                                                   used by by
any party
any   party in  in any
                    any suit
                          suit forfor breach
                                        breach of   of this
                                                         this Agreement.
                                                                 Agreement. Notwithstanding
                                                                                      Notwithstanding the          the foregoing
                                                                                                                         foregoing and   and
anything herein
anything      herein toto the
                          the contrary,
                                 contrary, the  the Parties
                                                      Parties further
                                                                   further agreeagree that
                                                                                        that (i)(i) following
                                                                                                     following the  the Effective
                                                                                                                          Effective DateDate
of this
of this Agreement,
         Agreement, Galleria
                           Galleria or   or Choudhri
                                             Choudhri may      may inform
                                                                       inform governmental
                                                                                  governmental agencies   agencies or  or departments
                                                                                                                            departments
that the
that   the Parties
              Parties have
                         have reached
                                   reached a     a settlement
                                                    settlement agreement,
                                                                        agreement, and     and NBK  NBK will          confirm same
                                                                                                             will confirm          same if   if
contacted by
contacted      by any
                    any governmental
                          governmental agencies  agencies or     or departments,
                                                                      departments, and      and (ii)(ii) upon
                                                                                                           upon NBK’sNBK’s receipt
                                                                                                                                 receipt of of
either the
either   the Settlement
                Settlement Payment
                                 Payment or     or Purchase
                                                      Purchase Option  Option Payment,
                                                                                   Payment, Galleria Galleria or   or Choudhri
                                                                                                                        Choudhri may    may
inform governmental
inform     governmental agencies agencies or   or departments
                                                    departments that        that the
                                                                                  the Parties
                                                                                         Parties have have reached
                                                                                                              reached a      a settlement
                                                                                                                                settlement
agreement to
agreement       to the
                    the satisfaction
                         satisfaction of    of all
                                                all Parties,
                                                     Parties, and   and NBK NBK will
                                                                                   will confirm
                                                                                          confirm same   same if if contacted
                                                                                                                     contacted by    by any
                                                                                                                                         any
governmental agencies
governmental         agencies or   or departments.
                                       departments.

        9.4
        9.4     No person
                No  person or
                            or entity
                               entity not
                                      not aa party
                                             party to
                                                   to this
                                                      this Agreement
                                                           Agreement shall
                                                                     shall be
                                                                           be deemed
                                                                              deemed to
                                                                                     to be
                                                                                        be aa third-
                                                                                              third-
party beneficiary
party beneficiary of
                  of this
                     this Agreement.
                          Agreement.

           9.5
           9.5       This Agreement
                     This Agreement may
                                    may be
                                        be amended
                                           amended only
                                                   only by
                                                        by an
                                                           an instrument
                                                              instrument in
                                                                         in writing
                                                                            writing executed
                                                                                    executed by
                                                                                             by the
                                                                                                the
Parties.
Parties.

        9.6
        9.6         If any
                   If   any term
                             term or
                                   or other
                                       other provision
                                              provision of of this
                                                               this Agreement
                                                                     Agreement is   is found
                                                                                       found to
                                                                                              to be
                                                                                                 be invalid,
                                                                                                     invalid, illegal,
                                                                                                               illegal, or
                                                                                                                        or
incapable of
incapable    of being
                 being enforced
                          enforced byby any
                                         any rule
                                              rule of
                                                   of law
                                                       law oror public
                                                                public policy,
                                                                         policy, such
                                                                                  such provision
                                                                                         provision shall
                                                                                                    shall be
                                                                                                           be severed
                                                                                                              severed oror
reformed to
reformed    to the
                the maximum
                      maximum extent
                                   extent allowed
                                            allowed by by law.
                                                           law. In In any
                                                                      any event,
                                                                           event, all
                                                                                    all other
                                                                                        other terms
                                                                                              terms and
                                                                                                      and provisions
                                                                                                           provisions ofof
this Agreement
this Agreement shall  shall nevertheless
                             nevertheless remain
                                             remain inin full
                                                         full force
                                                               force and
                                                                      and effect.
                                                                            effect.

                                                                                                                                             9
       Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 10 of 15




         9.7
         9.7      The Parties
                  The   Parties hereto
                                   hereto agree
                                           agree that
                                                  that this
                                                        this Agreement
                                                              Agreement may may be
                                                                                be executed
                                                                                    executed inin counterpart
                                                                                                   counterpart
originals, each
originals,   each of
                   of which   shall constitute
                      which shall    constitute an
                                                an original,
                                                    original, and
                                                               and all
                                                                   all of
                                                                       of which together shall
                                                                          which together shall constitute
                                                                                                constitute one
                                                                                                           one
and the
and  the same
          same agreement.
                 agreement.

         9.8
         9.8      The Parties
                  The Parties acknowledge
                                acknowledge thatthat they
                                                      they have
                                                             have hadhad the
                                                                          the opportunity
                                                                              opportunity toto read
                                                                                                read this
                                                                                                      this Agreement
                                                                                                           Agreement
and to
and  to consult
        consult with
                 with legal
                       legal counsel
                              counsel ofof their
                                           their choosing
                                                  choosing as  as to
                                                                   to the
                                                                       the meaning
                                                                            meaning and
                                                                                     and effect
                                                                                          effect ofof the
                                                                                                       the Agreement
                                                                                                           Agreement
and the
and  the rights
          rights and
                  and liabilities
                       liabilities of
                                   of the
                                       the Parties.
                                            Parties. The
                                                       The Parties
                                                              Parties acknowledge
                                                                         acknowledge that
                                                                                        that they
                                                                                               they understand
                                                                                                      understand and
                                                                                                                  and
appreciate the
appreciate   the foregoing
                 foregoing words
                              words and
                                     and terms
                                           terms and
                                                   and their
                                                        their effect.
                                                                effect.

         9.9
        9.9        The Parties
                   The    Parties acknowledge
                                     acknowledge that   that they
                                                              they understand
                                                                     understand the   the meaning
                                                                                            meaning andand effect
                                                                                                              effect of
                                                                                                                      of this
                                                                                                                           this
Agreement
Agreement and   and that
                      that they
                             they execute
                                    execute it it of
                                                   of their
                                                       their own
                                                              own free
                                                                     free will
                                                                            will and
                                                                                   and accord
                                                                                          accord for
                                                                                                   for the
                                                                                                        the purposes
                                                                                                              purposes and and
considerations set
considerations     set forth.
                        forth. Further,
                                 Further, the
                                            the Parties
                                                 Parties solemnly
                                                           solemnly state
                                                                       state that
                                                                               that this
                                                                                    this Agreement
                                                                                          Agreement is   is not
                                                                                                            not being
                                                                                                                 being made
                                                                                                                         made
because of
because    of any
               any persuasive
                    persuasive statement
                                    statement or or representation
                                                      representation or or promise
                                                                            promise by   by anyone
                                                                                             anyone whomsoever
                                                                                                      whomsoever or     or for
                                                                                                                            for
anything other
anything     other than
                     than whatwhat is is recited
                                          recited herein.
                                                     herein.     In entering
                                                                 In  entering into into this
                                                                                          this Agreement,
                                                                                                Agreement, each  each Party
                                                                                                                         Party
acknowledges that
acknowledges       that itit is
                              is not
                                 not relying
                                       relying upon
                                                 upon anyany statement,
                                                               statement, representation,
                                                                              representation, or  or promise
                                                                                                      promise thatthat is
                                                                                                                        is not
                                                                                                                            not
specified expressly herein.
specified   expressly     herein.

        9.10
        9.10      The Parties
                  The  Parties represent
                                  represent oneone to
                                                    to the
                                                         the other
                                                               other that
                                                                       that their
                                                                              their respective
                                                                                     respective signatory
                                                                                                   signatory to to this
                                                                                                                    this
Agreement
Agreement is  is empowered
                 empowered and and legally
                                     legally competent
                                              competent to  to execute
                                                                execute this
                                                                          this Agreement
                                                                                Agreement on  on behalf
                                                                                                  behalf of
                                                                                                          of the
                                                                                                             the Party
                                                                                                                  Party
for which
for which itit signed.
               signed. The
                        The Parties
                              Parties further
                                        further represent
                                                 represent that
                                                              that they,
                                                                   they, their
                                                                           their respective
                                                                                  respective signatories,
                                                                                               signatories, and
                                                                                                             and their
                                                                                                                   their
respective representatives
respective   representatives are
                               are of
                                    of sound
                                       sound mind
                                                mind at
                                                      at the
                                                          the time
                                                               time they
                                                                     they executed
                                                                            executed this
                                                                                        this Agreement.
                                                                                             Agreement.

          9.11
         9.11      The Parties
                   The   Parties represent
                                   represent andand warrant
                                                     warrant to  to each
                                                                     each other
                                                                            other that
                                                                                    that they
                                                                                         they are
                                                                                                are the
                                                                                                      the sole
                                                                                                            sole owner
                                                                                                                  owner of of all
                                                                                                                              all
claims and
claims   and causes
               causes ofof action
                            action they
                                     they have
                                            have released
                                                   released in in this
                                                                   this Agreement,
                                                                         Agreement, that  that such
                                                                                               such claims
                                                                                                         claims are
                                                                                                                  are free
                                                                                                                       free and
                                                                                                                             and
clear of
clear  of all
           all claims
                claims oror liens
                             liens of
                                    of any
                                        any other
                                              other person
                                                     person or  or entity,
                                                                    entity, that
                                                                              that they
                                                                                     they have
                                                                                           have notnot assigned,
                                                                                                          assigned, pledged,
                                                                                                                       pledged,
subrogated or
subrogated     or in
                  in any
                     any other
                           other manner
                                  manner transferred
                                            transferred any
                                                          any of of the
                                                                     the claims
                                                                          claims oror causes
                                                                                       causes of
                                                                                               of action
                                                                                                    action released
                                                                                                              released herein,
                                                                                                                         herein,
the Loan
the  Loan oror any
                any debt
                     debt related
                            related to
                                     to the
                                         the Loan,
                                              Loan, and
                                                      and that
                                                           that there
                                                                  there are
                                                                          are no
                                                                               no other
                                                                                   other persons
                                                                                           persons or  or legal
                                                                                                           legal entities
                                                                                                                  entities who
                                                                                                                            who
could or
could   or should
            should have
                      have asserted
                             asserted such
                                         such claims
                                                claims oror joined
                                                             joined in  in any
                                                                            any settlement
                                                                                  settlement or  or compromise
                                                                                                      compromise of     of such
                                                                                                                            such
claims.
claims.

          9.12
          9.12      Notwithstanding any
                   Notwithstanding       any provision
                                               provision contained
                                                           contained herein
                                                                       herein to
                                                                               to the
                                                                                   the contrary,
                                                                                       contrary, each
                                                                                                   each Party
                                                                                                          Party agrees
                                                                                                                 agrees
to pay
to pay all
         all of
             of his
                 his or
                      or its
                         its own
                              own legal
                                    legal fees,
                                           fees, costs
                                                  costs and
                                                         and expenses
                                                              expenses that
                                                                          that have
                                                                               have been
                                                                                      been incurred
                                                                                             incurred inin connection
                                                                                                            connection
with  the Claims
with the    Claims andand the
                           the Lawsuit,
                                Lawsuit, andand the
                                                 the release
                                                      release of
                                                               of claims
                                                                  claims and
                                                                           and related
                                                                                related activities,
                                                                                         activities, including
                                                                                                      including those
                                                                                                                  those
associated with
associated    with the
                     the negotiating,
                         negotiating, drafting
                                         drafting and
                                                    and signing
                                                         signing of
                                                                  of this
                                                                     this Agreement.
                                                                           Agreement.

          9.13
          9.13     Within    thirty (30)
                   Within thirty     (30) days
                                            days after
                                                   after NBK’s
                                                           NBK’s receipt
                                                                   receipt ofof the
                                                                                 the Settlement
                                                                                      Settlement Payment
                                                                                                   Payment or  or the
                                                                                                                   the
Purchase Option
Purchase    Option Payment,
                     Payment, eacheach party
                                         party shall
                                                shall return
                                                       return all
                                                              all documents
                                                                  documents and and discovery
                                                                                     discovery in
                                                                                                in their
                                                                                                   their possession
                                                                                                          possession
or control,
or  control, including
               including all
                          all copies,
                               copies, to
                                        to the
                                            the party
                                                 party who
                                                        who furnished
                                                              furnished it
                                                                         it in
                                                                            in the
                                                                               the Lawsuit,
                                                                                    Lawsuit, or
                                                                                              or certify
                                                                                                  certify in
                                                                                                           in writing
                                                                                                              writing
that all
that  all such
          such documents
                 documents havehave been
                                     been destroyed.
                                            destroyed.




                                                                                                                             10
                                                                                                                             10
       Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 11 of 15




           9.14
          9.14       The undersigned
                     The   undersigned acknowledges
                                           acknowledges that that this
                                                                    this Agreement
                                                                          Agreement is    is to
                                                                                              to be
                                                                                                  be performed
                                                                                                       performed in  in Texas,
                                                                                                                         Texas,
and that
and   that the
             the provisions
                  provisions hereof,
                                hereof, and
                                         and the
                                               the respective
                                                    respective rights
                                                                  rights and
                                                                           and duties
                                                                                 duties ofof the
                                                                                              the Parties
                                                                                                    Parties hereto
                                                                                                              hereto shall
                                                                                                                       shall be
                                                                                                                              be
construed in
construed      in accordance
                  accordance with       and governed
                                 with and     governed by by the
                                                              the laws
                                                                   laws of of the
                                                                               the State
                                                                                    State ofof Texas.
                                                                                                Texas. The The undersigned
                                                                                                                 undersigned
agree that
agree   that exclusive
               exclusive jurisdiction      for any
                            jurisdiction for    any dispute
                                                     dispute based
                                                               based on on oror arising
                                                                                 arising from
                                                                                           from this
                                                                                                   this Agreement
                                                                                                         Agreement will will be
                                                                                                                              be
in the
in the Harris
         Harris County
                  County District
                            District Court,
                                      Court, Houston,
                                               Houston, Texas;
                                                           Texas; andand that
                                                                          that the
                                                                                the prevailing
                                                                                     prevailing party
                                                                                                    party inin any
                                                                                                               any suit
                                                                                                                    suit based
                                                                                                                          based
on or
on  or arising
        arising from
                  from this
                         this Agreement
                               Agreement willwill be
                                                   be further
                                                      further entitled
                                                                entitled toto recover
                                                                               recover from
                                                                                         from thethe non-prevailing
                                                                                                       non-prevailing partyparty
the prevailing
the  prevailing party’s
                    party’s reasonable
                              reasonable andand necessary
                                                 necessary attorneys’
                                                              attorneys’ fees,
                                                                             fees, costs,
                                                                                    costs, and
                                                                                             and expenses.
                                                                                                   expenses.

      9.15
      9.15   THIS AGREEMENT
             THIS  AGREEMENT CONSTITUTES
                                CONSTITUTES THE THE ENTIRE
                                                     ENTIRE AGREEMENT
                                                            AGREEMENT BETWEEN
                                                                          BETWEEN
THE PARTIES
THE  PARTIES HERETO
               HERETO WITH
                         WITH RESPECT
                               RESPECT TO TO THE
                                              THE SUBJECT
                                                   SUBJECT MATTER
                                                             MATTER HEREOF
                                                                      HEREOF AND
                                                                               AND
THERE ARE
THERE  ARE NONO OTHER
                 OTHER AGREEMENTS,
                         AGREEMENTS, WRITTEN
                                        WRITTEN OR OR ORAL,
                                                       ORAL, EXPRESS
                                                              EXPRESS OR
                                                                       OR IMPLIED,
                                                                           IMPLIED,
RELATED TO
RELATED    TO THE
              THE MATTERS
                    MATTERS SET
                             SET FORTH
                                  FORTH HEREIN.
                                           HEREIN. THIS
                                                    THIS AGREEMENT
                                                         AGREEMENT MAY MAY NOT
                                                                            NOT BEBE
CONTRADICTED BY
CONTRADICTED      BY EVIDENCE
                      EVIDENCE OF
                                OF PRIOR,
                                    PRIOR, CONTEMPORANEOUS,
                                             CONTEMPORANEOUS, OR   OR SUBSEQUENT
                                                                      SUBSEQUENT
ORAL AGREEMENTS
ORAL  AGREEMENTS OF   OF THE
                         THE PARTIES.
                             PARTIES.

                               <remainder of
                               <remainder of this
                                             this page
                                                  page left
                                                       left intentionally
                                                            intentionally blank>
                                                                          blank>




                                                                                                                            11
                                                                                                                            11
       Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 12 of 15




           NATIONAL BANK
           NATIONAL BANK OF
                         OF KUWAIT,
                            KUWAIT, S.A.K.P.,
                                    S.A.K.P., NEW
                                              NEW YORK
                                                  YORK BRANCH
                                                       BRANCH


Agreed: National Bank
Agreed: National Bank of
                      of Kuwait,
                         Kuwait, S.A.K.P.,
                                 S.A.K.P., New
                                           New York
                                               York Branch
                                                    Branch


       NM <body                                              oo
                                                             8/22/2020
By:
By:     Marwan Isbaih
        ______________________________                       Date
                                                             Date
Its:
Its:    ______________________________
         General Manager




                                                                              12
                                                                              12
          _____________________
          _____________________

Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 13 of 15




                            GALLERIA 2425 OWNER,
                            GALLERL4 2425        LLC
                                          OWNER, LLC

   Agreed:
   Agreed: Galleria 2425 Owner,
           Galleria 2425 Owner, LLC
                                LLC


                                                              SRljzz
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Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 14 of 15




                             NAISSANCE GALLERIA,
                             NAISSANCE GALLERIA, LLC
                                                 LLC

   Agreed: Naissgnce
   Agreed:           Galleria, LLC
           Naiss nce Galleria, LLC


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   By:                                                 Date
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Case 23-34815 Document 521-5 Filed in TXSB on 06/15/24 Page 15 of 15




                               ALI CHOUDHRI
                               ALl CHOUDHRI

   Agreed:
   Agreed: Ali
           All Choudhri
               Choudhri


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